Case 3:13-cr-00417-AET Document 163 Filed 01/12/16 Page 1 of 6 PagelD: 2643

LAW OFFICES OF THOMAS R. ASHLEY, ESQ.

50 Park Place, Suite 1400

Newark, New Jersey 07102

T (973) 623-0501

F (973) 623-0329

ashleylaw@traesq.com

ATTORNEY ID No. 242391967

ATTORNEYS FOR DEFENDANT COURTNEY JOHNSON

 

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY (NEWARK)

ee X
UNITED STATES,

Plaintiff,
Vv. Case No. 13-417 (FSH)
COURTNEY JOHNSON; ET AL.,

Defendants.
= a 4

NOTICE OF MOTION
[FOR AN ORDER: (1)APPOINTING THOMAS R. ASHLEY AS CJA ATTORNEY FOR
DEFENDANT JOHNSON; (2) AUTHORIZING PAYMENT FOR THE TRIAL TRANSCRIPTS
BY THE GOVERNMENT FOR APPEAL]

[ORAL ARGUMENT NOT REQUESTED]

 

TO:

' CLERK OF THE COURT
United States Courthouse
50 Walnut Street

Newark, N.vJ. 07102

Hon. Anne Thompson, U.S.D.J.
United States Courthouse
Trenton, N.J. 07102
Case 3:13-cr-00417-AET Document 163 Filed 01/12/16 Page 2 of 6 PagelD: 2644

AUSA Lorraine S. Gerson

OFFICE OF THE UNITED STATES ATTORNEY
970 BROAD STREET

NEWARK, N.J. 07102

ATTORNEY FOR UNITED STATES

TO WHOM IT MAY CONCERN:

PLEASE TAKE NOTICE that on a date and time to be set by the
Court, or as soon thereafter as counsel may be heard, the undersigned
DEFENDANT COURTNEY JOHNSON, by and through retained counsel THOMAS R.
ASHLEY, ESQ., will move before this Court for an order granting the
relief as is hereinabove set forth and described.

In support of this motion and the relief requested Defendant will
rely upon the certification of THOMAS ASHLEY, ESQ. and a brief in
support to be filed and upon which defendant will rely.

Respectfully submitted,

/s/ THOMAS R. ASHLEY

 

THOMAS R. ASHLEY, ESQ.

Dated: JANUARY 11, 2016
Case 3:13-cr-00417-AET Document 163 Filed 01/12/16 Page 3 of 6 PagelD: 2645

CERTIFICATE OF SERVICE

I, THOMAS R. ASHLEY do herein certify that on the 1Q" day of
JANUARY, 2016 I did transmit via ECF the enclosed MOTION/BRIEF, AND
CERTIFICATION TO:

AUSA Lorraine S. Gerson
OFFICE OF THE UNITED STATES ATTORNEY
970 BROAD STREET

NEWARK, N.J. 07102
ATTORNEY FOR UNITED STATES

and that if any of the foregoing statements is willfully false I am

subject to punishment.
__/s/__ THOMAS R. ASHLEY

THOMAS R. ASHLEY

Dated: JANUARY 12, 2016
Case 3:13-cr-00417-AET Document 163 Filed 01/12/16 Page 4 of 6 PagelD: 2646

LAW OFFICES OF THOMAS R. ASHLEY, ESQ.

50 Park Place, Suite 1400

Newark, New Jersey 07102

T (973) 623-0501

F (973) 623-0329

ashleylaw@traesq.com

ATTORNEY ID No. 242391967

ATTORNEYS FOR DEFENDANT COURTNEY JOHNSON

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY (NEWARK)

i a ae i a ee ee eee x
UNITED STATES,
Plaintiff,
Vv. Case No. 13-417 (FSH)
COURTNEY JOHNSON; ET AL.,
Defendants.
Se ee re ee ee er es XK

CERTIFICATION OF THOMAS R. ASHLEY

 

I, THOMAS R. ASHLEY, ESQ., of full age, being sworn on my oath,
appear and say:

1. I am an attorney at law licensed by and admitted to practice in
the State of New Jersey, the federal district court of New Jersey
and the United States Court of Appeals for the Third Circuit.

2. I am the attorney for the above-named defendant Johnson.

a. I am fully familiar with the facts and circumstances of this
matter and am competent to testify on personal knowledge as to
the facts and statements hereinafter set forth...

4. I am filing this statement in support of the annexed motion which

seeks an order appointing your affiant as CJA counsel for
Case 3:13-cr-00417-AET Document 163 Filed 01/12/16 Page 5 of 6 PagelD: 2647

10.

ll.

12.

defendant on appeal and for payment by the Government of the
trial transcripts for appeal purposes.

This is a complex income tax fraud and conspiracy criminal matter
wherein defendant Courtney Johnson and his codefendant wife Carol
Johnson were charged in a 7 count indictment, filed June 19,
2013, with conspiracy to defraud the United States (Count 1: 18
U.S.C. § 371) and with the preparation and filing of tax returns
falsely claiming expenses so as to increase the tax refund due
the taxpayer (Counts 2-7: 26 U.S.C. § 7206(2)).

A superseding indictment was filed on June 11, 2014 which added
additional overt acts allegedly committed by defendants Courtney
Johnson and Carol Johnson in furtherance of the charged
conspiracy.

Defendant was convicted after trial by jury and on December 01,
2015 was sentenced by this Court to a term of 48 months.
Defendant has surrendered and presently is in federal custody
serving his sentence,

On December 10, 2015 a timely notice of appeal from said judgment
of conviction was filed with the Third Circuit Court of Appeals.
At the time of sentencing the United States Probation Department
confirmed and advised the Court that defendant had no income if
incarcerated and had a negative net worth of $127,215, thereby
establishing that defendant was indigent.

Absent the Court granting the relief requested defendant’s appeal
can not be perfected due to financial limitations.

I have only been retained by defendant through his sentencing and
Case 3:13-cr-00417-AET Document 163 Filed 01/12/16 Page 6 of 6 PagelD: 2648

filed the notice of appeal to preserve his appellate rights.

13. I have contacted the involved court reporters from whom the trial
transcripts must be obtained and been advised that the cost for
the transcripts required but not yet received is $1,000,00

14. That I have read the foregoing and that if any statement therein

is willfully false I am subject to punishment.

/s/ THOMAS R. ASHLEY

 

THOMAS R. ASHLEY, ESQ.

Dated: JANUARY 11, 2016
